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16                                   UNITED STATES DISTRICT COURT

17                              NORTHERN DISTRICT OF CALIFORNIA

18                                      SAN FRANCISCO DIVISION

19   SONOS, INC.,                                   Case No. 3:21-cv-07559-WHA
                                                    Related to Case No. 3:20-cv-06754-WHA
20                      Plaintiff,
                                                    SONOS, INC.’S RESPONSE TO ORDER
21          v.                                      (DKT. 204)

22   GOOGLE LLC,                                    Second Amended Complaint Filed:
                                                    February 23, 2021
23                      Defendant.

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                                                               SONOS’S RESPONSE TO ORDER (DKT. 204)
                                                                                3:21-CV-07559-WHA
      Case 3:21-cv-07559-WHA Document 205 Filed 05/27/22 Page 2 of 2



 1          Your Honor, we find ourselves in a vexing situation. The law clerk on this case has assisted

 2   you in important decisions despite an ethical conflict that he has belatedly sought to cure, albeit in

 3   a way that the law does not recognize as a cure. See Dkt. 203 at 2-4. Based on our own inquiries

 4   we have reason to believe that this clerk also previously worked for opposing counsel, including

 5   with a senior member of the trial team for this case, during the pendency of this dispute. This is a

 6   hard-fought litigation to say the least. So we trust that you can imagine our concerns regarding this

 7   abrupt development, which is compounded by our uncertainty regarding the relevant facts. That

 8   said, as your Honor has satisfied yourself that, notwithstanding some appearances, your clerk can

 9   handle his duties impartially, we will not be filing a recusal motion. We have emphasized from the

10   outset that our hope is to move towards trial expeditiously and we look forward to doing so.

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     Dated: May 27, 2022
14                                                    By:    /s/ Clement Seth Roberts
                                                                CLEMENT SETH ROBERTS
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                                                                      SONOS’S RESPONSE TO ORDER (DKT. 204)
                                                     -1-                               3:21-CV-07559-WHA
